Case: 4:06-cr-00296-JCH   Doc. #: 77   Filed: 10/19/07   Page: 1 of 7 PageID #: 138
Case: 4:06-cr-00296-JCH   Doc. #: 77   Filed: 10/19/07   Page: 2 of 7 PageID #: 139
Case: 4:06-cr-00296-JCH   Doc. #: 77   Filed: 10/19/07   Page: 3 of 7 PageID #: 140
Case: 4:06-cr-00296-JCH   Doc. #: 77   Filed: 10/19/07   Page: 4 of 7 PageID #: 141
Case: 4:06-cr-00296-JCH   Doc. #: 77   Filed: 10/19/07   Page: 5 of 7 PageID #: 142
Case: 4:06-cr-00296-JCH   Doc. #: 77   Filed: 10/19/07   Page: 6 of 7 PageID #: 143
Case: 4:06-cr-00296-JCH   Doc. #: 77   Filed: 10/19/07   Page: 7 of 7 PageID #: 144
